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                                                                     United States District Court
                                                                       Southern District of Texas

                                                                          ENTERED
                                                                      September 02, 2022
                                                                       Nathan Ochsner, Clerk

                   UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

        JAMES T. TYNAN JR,     § CIVIL ACTION NO.
                    Plaintiff, § 4:22-cv-01433
                               §
                               §
              vs.              § JUDGE CHARLES ESKRIDGE
                               §
                               §
        U.S. BANK TRUST        §
        NATIONAL               §
        ASSOCIATION,           §
                   Defendant. §

                                ORDER

           Pending is a purported stipulation of dismissal of this
       action without prejudice by Plaintiff James T. Tynan Jr.
       Dkt 14. Defendant U.S. Bank Trust National Association
       objects. Dkt 15.
           Dismissal by the Plaintiff at this juncture isn’t
       available by stipulation. It may instead proceed only by
       court order. See FRCP 41(a)(2). And U.S. Bank offers
       persuasive reasons for denying Plaintiff’s request. In
       particular, a foreclosure sale of Plaintiff’s home is
       scheduled for September 6, 2022. It appears that Plaintiff
       seeks dismissal to avoid the jurisdiction of this Court and
       attempt to secure another temporary restraining order in
       state court before foreclosure. Dkt 15; see also Dkt 1-5.
           The purported stipulation by Plaintiff James T. Tynan
       Jr. of dismissal without prejudice is REJECTED as without
       proper procedural basis. Such stipulation is thus without
       force and effect.
           This action remains pending before this Court. No
       other relief having been requested, none is given.
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          SO ORDERED.


          Signed on September 2, 2022, at Houston, Texas.




                               Hon. Charles Eskridge
                               United States District Judge




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